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 5   Attorney for Defendant Desidorio Sanchez Solorzano

 6                           IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 8                                          FRESNO DIVISION

 9   THE UNITED STATES OF AMERICA,                         )   Case No. 1:11-cr-00449-AWI
                                                           )
10                                                         )
                                   Plaintiff,              )
11                                                         )   ORDER AND
     vs.                                                   )   STIPULATION EXCLUDING TIME
12                                                         )   FROM FEBRUARY 2, 2012, TO
     DESIDORIO SANCHEZ SOLORZANO,                          )   APRIL 4, 2012, FROMTHE SPEEDY
13   JOSE ANTONIO SANCHEZ REYES and                        )   TRIAL ACT CALCULATOIN (18
     ELIODORO CERRATO MARTINEZ,                            )   U.S.C. § 3161(h)(7)(A)
14                                                         )
                                   Defendants.             )
15                                                         )
     ___________________________________           ____)
16

17          On February 13, 2012, the parties appeared before the Court for a status conference. At
18
     the status conference, defense counsel requested additional time to review discovery in the case.
19
     The Court set the matter for a status conference on April 9, 2012.
20
            With the agreement of the parties, and with the consent of the defendants, the Court
21

22   enters this order documenting the exclusion of time under the Speedy Trial Act, 18 U.S.C. §

23   3161 from February 13, 2012, through April 9, 2012.

24          The parties agree, and the Court finds and holds, as follows:
25          1. The defendants agree to an exclusion of time under the Speedy Trial Act from
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                February 13, 2012, through April 9, 2012, based upon the need for effective
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                preparation of counsel to provide the defendants an opportunity to continue discovery
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              review. The defendants agree to this exclusion on the condition that their right to
 1            bring motions claiming Speedy Trial violations prior to February 13, 2012, shall
 2
              remain preserved.
 3
           2. Counsel for defense believe that the exclusion of time is in their respective clients’
 4
              best interest.
 5

 6         3. Given these circumstances, the Court finds that the ends f justice served by excluding

 7            the period from February 13, 2012, through April 9, 2012, outweigh the best interest

 8            of the public and defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 9         4. Accordingly, and with the consent of he defendants, the Court orders that the period
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              from February 13, 2012, through April 9, 2012, shall be excluded from Speedy Trial
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              Act calculations § 3161(h)(7)(A) and (B)(iv).
12
     IT IS SO STIPULATED:
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14   DATED: March 6, 2012                                     /s/
                                                       ARTURO HERNANDEZ-M.
15                                                     Attorney for Defendant
                                                       Desidorio Sanchez Solorzano
16
     DATED: March 6, 2012
17
                                                              /s/
18                                                     CURTIS V. RODRIGUEZ
                                                       Attorney for Defendant
19                                                     Jose Antonio Sanchez Reyes
20   DATED: March 6, 2012
                                                              /s/
21
                                                       MILTON F. GONZALEZ
22                                                     Attorney for Defendant

23   DATED: 6, 2012
                                                              /s/
24                                                     KATHLEEN ANNE SERVATIUS
25                                                     Assistant United States Attorney

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 1                                                      ORDER
 2

 3

 4   IT IS SO ORDERED.
 5   Dated: March 14, 2012
 6   DEAC_Signature-END:
                                                  CHIEF UNITED STATES DISTRICT JUDGE

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